                              UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



     IN RE: NATIONAL PRESCRIPTION                                Case No. 1:17-md-2804
           OPIATE LITIGATION
                                                                Hon. Dan Aaron Polster
             APPLIES TO ALL CASES


                        THE PARTIES’ JOINT PROPOSED AGENDA FOR
                       JANUARY 31, 2018 HEARING – MORNING SESSION

       Pursuant to the Court’s January 11, 2018, Minute Order, the Parties respectfully submit

the following joint proposed agenda for the morning session of the January 31, 2018 Hearing:

1.     Introductions – 9:00 am to 9:15 am

       (a)      Special Masters Francis McGovern, Cathy Yanni, and David Cohen

       (b)      Parties:

                (i)        Plaintiffs’ Leadership Counsel and client representatives

                (ii)       Defendants’ Leadership Counsel and client representatives

       (c)      Non-Parties: Representatives of other groups invited to participate and who
                choose to attend, such as State Attorneys General, DEA, FDA, insurance
                companies, and others.

2.     Discussion of Preliminary Matters (confidentiality, etc.) – 9:15 am – 9:25 am

3.     Plaintiffs’ Presentation – 9:25 am to 10:40 am1

       (a)      Dr. Aaron Kesselheim

       (b)      Dr. Anna Lembke

       (c)      Dr. Andrew Kolodny

       (d)      Joseph T. Rannazzisi


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 Each will speak for approximately 15 minutes. Plaintiffs’ Leadership will supply bios as soon
as possible.
         4.    Other Group Representatives (AGs, DEA, FDA, Insurers) – 10:40 am – 11:00
am

         Break 11:00 am – 11:15 am

5.       Defendants’ Presentation – 11:15 am to 12:30 pm2

         (d)   Manufacturer Defendants’ presentation: Mark Cheffo, Esq. (Quinn Emanuel)

         (e)   Distributor Defendants’ presentation: Lane Heard, Esq. (Williams & Connolly)

DATED: January 26, 2018                  Respectfully submitted,



                                               /s/ Carole S. Rendon
                                               /s/ Carole S. Rendon
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                                               Co-Liasion Counsel for the Manufacturer
                                               Defendants



                                               /s/ Enu Mainigi
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        Defendants intend to split their time approximately as follows: Manufacturer Defendants
– 45 minutes; Distributor Defendants – 30 minutes. The Manufacturer Defendants reserve the
right to present additional speakers with knowledge of the industry. The Manufacturer
Defendants will provide the names of those individuals, if any, by close of business on Monday.
The Physician Defendants do not plan to make a formal presentation.


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/s/Peter H. Weinberger
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                                    CERTIFICATE OF SERVICE

       I hereby certify that, this 26th day of January, 2018, I electronically filed a copy of the

above and foregoing with Clerk of the Court using the ECF system, which sent notification of

such filing to counsel of record.



                                                      /s/ Carole S. Rendon




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